
56 So. 3d 897 (2011)
James David WATTS, Husband, Appellant,
v.
Amy Alwine WATTS, Wife, Appellee.
No. 1D10-6199.
District Court of Appeal of Florida, First District.
March 16, 2011.
Tomislav D. Golik of the Golik Law Firm, PLLC, Jacksonville, for Appellant.
William Bruce Muench of Muench &amp; Luca, Jacksonville, for Appellee.
PER CURIAM.
Whereas the notice of appeal failed to timely invoke the Court's appellate jurisdiction, the appeal is hereby dismissed. See Olson v. Olson, 704 So. 2d 208, 210 (Fla. 5th DCA 1998).
DISMISSED.
DAVIS, HAWKES, and WETHERELL, JJ., concur.
